05-44481-rdd   Doc 7965-20    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff   Pg 1 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff   Pg 2 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff   Pg 3 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff   Pg 4 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff   Pg 5 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff   Pg 6 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff   Pg 7 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff   Pg 8 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07    Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff   Pg 9 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff Pg 10 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff Pg 11 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff Pg 12 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff Pg 13 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff Pg 14 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff Pg 15 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff Pg 16 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff Pg 17 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff Pg 18 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff Pg 19 of 20
05-44481-rdd   Doc 7965-20    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 5d of Aff Pg 20 of 20
